


  HUDSON, Judge.
 

  On 29 October 2002, the court adjudicated juvenile A.L. delinquent upon a violation of N.C. Gen.Stat. § 14-177, which prohibits crime against nature. The juvenile was nine-years-old at the time of the hearing. On 8 December 2002, the court entered an order of disposition. As explained below, we dismiss this appeal for lack of jurisdiction.
 

  Evidence at the hearing tended to show that on 17 July 2002, A.L. was playing outside a neighbor's house with an unsupervised group of children ranging in age from eleven months to twelve years. An eleven-year-old child held the eleven-month-old baby on his lap, when A.L. asked the group of kids if anyone dared him to put his "thing" in the baby's mouth. Another boy said "Me", whereupon A.L. unzipped his pants and placed his penis in the baby's mouth.
 

  The Court of Appeals has limited jurisdiction to review final orders of the trial court in juvenile matters. Notice of appeal must be made in open court at the time of the hearing or in writing within ten days after the entry of the order. N.C. Gen.Stat. § 7B-2602 (2003). Appealable final orders include "any order of disposition after an adjudication that a juvenile is delinquent or undisciplined."
  
   Id.
  
  "The statute does not authorize an appeal following the
  
   adjudicatory
  
  portion of the case."
  
   In re Pegram,
  

   137 N.C.App. 382
  
  , 383,
  
   527 S.E.2d 737
  
  , 738 (2000) (emphasis in original).
 

  It is well established that "failure to give timely notice of appeal ... is jurisdictional, and an untimely attempt to appeal must be dismissed."
  
   In re Lynette H.,
  

   323 N.C. 598
  
  , 602,
  
   374 S.E.2d 272
  
  , 274 (1988) (quoting
  
   Booth v. Utica Mutual Ins. Co.,
  

   308 N.C. 187
  
  , 189,
  
   301 S.E.2d 98
  
  , 99-100 (1983)). Here, the juvenile's attorney filed a notice of appeal on 8 December 2002, following the hearing on disposition. The notice of appeal, however, refers only to the order entered 29 October 2002, with its "finding adjudication of delinquency," and mentions neither the disposition nor the order dated 8 December 2002. Since nothing in the record indicates that the order was appealed, we must conclude that we have no jurisdiction to review
  
   *539
  
  this matter. Accordingly, we dismiss this appeal.
 

  Dismissed.
 

  Judges MARTIN and GEER concur.
 
